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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

                v.                                 Case No. 22-cr-00007-LKG-1

 MARILYN J. MOSBY,

                        Defendant



                      DEFENDANT’S MOTION TO SEAL EXHIBITS

       Defendant State’s Attorney Marilyn J. Mosby (“State’s Attorney Mosby”), by and through

her undersigned counsel, hereby moves the Court for leave to file under seal Exhibits 1 – 4 attached

to State’s Attorney Mosby’s correspondence to the Court requesting a status conference. The basis

of this request is that the exhibits include confidential correspondence between the parties.

       WHEREFORE, State’s Attorney Mosby requests that this Court grant this motion and

place Exhibits 1 – 4 under seal.


Dated: March 23, 2022                  Respectfully submitted,

                                        /s/ A. Scott Bolden

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                                 CERTIFICATE OF SERVICE

       I certify that, on March 23, 2022, this document was electronically filed with the Clerk of

Court using the Court’s CM/ECF system, which will then serve a notification of the filing to the

registered parties of record. I further certify that a copy of Exhibits 1 – 4 were emailed to counsel

of record.

                                                      /s/ A. Scott Bolden
                                                      A. Scott Bolden




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